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                                   6                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  10    SONOS, INC.,
                                  11                   Plaintiff,                            No. C 20-06754 WHA
                                                                                             No. C 21-07559 WHA
                                  12            v.
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                                  13                                                         (Consolidated)
                                        GOOGLE LLC,
                                  14                   Defendant.                            FINAL PRETRIAL ORDER

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                                  16

                                  17         For GOOD CAUSE, and after a final pretrial conference, the following constitutes the final

                                  18    pretrial order and includes rulings on the motions in limine, disputes in the joint proposed final
                                  19    pretrial statement, and other rulings made during the final pretrial conference:

                                  20         1. This case will go to TRIAL on MONDAY, MAY 8, 2023, starting at 7:30 A.M. each

                                  21             day and running until 1:00 P.M. each day. Jury selection will take place TODAY,

                                  22             MAY 4, 2023, at 8:00 A.M.

                                  23         2. Rulings on the motions in limine, disputes in the joint proposed final pretrial

                                  24             statement, and other rulings made during the final pretrial conference are summarized

                                  25             below. Rulings on evidentiary objections will be taken up in turn as the parties seek

                                  26             to introduce evidence at trial.
                                  27         3. A jury of 6 jurors and 2 alternate jurors shall be used. No one will be prevented from

                                  28             serving due to their vaccination status.
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                                   1         4. Counsel submitted different versions of the neutral statement of the case to be read to

                                   2              the jury during voir dire because they were “unable to come to agreement” after a

                                   3              meet and confer (Dkt. No. 641 at 2). At the final pretrial conference, however,

                                   4              counsel for Google skimmed and promptly agreed to using Sonos’s statement.

                                   5              Moving forward, counsel shall please make a good faith effort to come to agreement

                                   6              during the meet and confer before filing material related to lingering disputes.

                                   7         5. Issues concerning jury instructions will be addressed at a later time during a charging

                                   8              conference.

                                   9                               RULINGS ON MOTIONS IN LIMINE

                                  10         1.      DEFENDANT’S MOTIONS IN LIMINE NOS. 1 & 2.
                                  11         Google filed two motions in limine to exclude evidence related to Sonos’s damages

                                  12    theory. Specifically, Google’s first motion in limine would exclude the entire expert report and
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                                  13    all testimony of Sonos’s damages expert Dr. James Malackowski, as well as related opinion

                                  14    and testimony of Sonos’s technical expert Dr. Kevin Almeroth. According to Google, Sonos’s

                                  15    damages theory is unreliable in light of its use of a noncomparable mobile app, If This Then

                                  16    That (“IFTTT”), as its foundation. As such, Google asserts that all associated expert opinion

                                  17    must be excluded. Meanwhile, Google’s second motion in limine would exclude portions of

                                  18    the expert report and select testimony of Dr. Malackowski. According to Google, Sonos’s

                                  19    apportionment on account of the revenue split between an app developer and app store is

                                  20    inappropriate, and this is not proper opinion evidence because Dr. Malackowski uses basic

                                  21    math and public data.

                                  22         As stated on the record, Google’s motion is DEFERRED. There are serious questions

                                  23    about Sonos’s damages theory and associated opinion offered by Dr. Malackowski and Dr.

                                  24    Almeroth. For now, Sonos will be allowed to put this evidence on, with the understanding that

                                  25    the undersigned may strike it from the record, tell the jury to disregard it, and grant one of

                                  26    these motions in limine under Rule 50, if appropriate, having benefitted from hearing the

                                  27    evidence and cross-examination. Separately, the judge urges counsel to consider having both

                                  28    sides’ damages experts testify back-to-back to assist the jury.
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                                   1         2.      DEFENDANT’S MOTION IN LIMINE NO. 3.
                                   2         Google’s third motion in limine would exclude portions of the expert reports and

                                   3    testimony of Dr. Malackowski and Dr. Almeroth regarding whether purported non-infringing

                                   4    alternatives infringe unasserted patents.

                                   5         This motion is DENIED AS MOOT, with the understanding that Sonos will not be offering

                                   6    opinions that purported non-infringing alternatives infringe unasserted patents.

                                   7         3.      DEFENDANT’S MOTION IN LIMINE NO. 4.
                                   8         Google’s fourth and final motion in limine would exclude references to Google’s alleged

                                   9    anticompetitive conduct and financial information unrelated to accused products.

                                  10         To the extent stated herein, this motion is GRANTED IN PART and DENIED IN PART.

                                  11    Google’s motion is GRANTED with respect to references to alleged anticompetitive conduct

                                  12    based on salacious headlines and news articles, as these headlines and articles would be
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                                  13    irrelevant, prejudicial, and rank hearsay. Google’s motion is DENIED with respect to

                                  14    references to alleged anticompetitive conduct based on financial data that is related to accused

                                  15    products. This data provides a legitimate basis for alleging anticompetitive conduct, and

                                  16    experts are paid to draw conclusions based on such data subject to cross-examination, after all.

                                  17    Google’s motion is DENIED AS MOOT with respect to references to alleged anticompetitive

                                  18    conduct based on financial data that is related to unaccused products, recognizing Sonos has

                                  19    agreed not to reference such data.

                                  20         As its final argument with respect to this motion in limine, Google introduced a dispute

                                  21    that was only raised in the joint proposed final pretrial statement with respect to the accused

                                  22    products for the ’966 patent (Dkt. No. 615 at 4–6). Seeing that this dispute was not addressed

                                  23    in this motion, it will be taken up separately below.

                                  24         4.      PLAINTIFF’S MOTION IN LIMINE NO. 1.
                                  25         Sonos’s first motion in limine would limit the testimony of Google’s damages expert, Dr.

                                  26    W. Christopher Bakewell. To the extent stated herein, this motion is GRANTED IN PART and

                                  27    DENIED IN PART.

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                                   1         Although Sonos raised four arguments in its motion, it stated at the final pretrial

                                   2    conference that only one was still in dispute and “everything else is either mooted by

                                   3    [Google’s] representations or they’re details of exhibits or arguments that we can deal with as

                                   4    the trial progresses.” After seeking clarification, Google did not object. As such, Sonos’s

                                   5    motion is DENIED AS MOOT with respect to all issues except the prior patent licensing

                                   6    negotiations undertaken by Sonos and Google before their litigation commenced in 2020 (Dkt.

                                   7    No. 591 at 6). According to Sonos, Dr. Bakewell should be precluded from testifying

                                   8    regarding the resulting licensing settlement proposal between the parties and term sheet.

                                   9         As stated on the record, the motion is GRANTED with respect to this issue. Dr. Bakewell

                                  10    — and counsel for both sides, for that matter — will not be allowed to enter the licensing

                                  11    proposal, term sheet, and other related items into evidence due to the risk of unfair prejudice

                                  12    under Rule 403. If a cease-and-desist letter exists, however, it may be entered into evidence.
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                                  13         5.      PLAINTIFF’S MOTION IN LIMINE NO. 2.
                                  14         Sonos’s second motion in limine would limit the testimony of Google’s technical expert

                                  15    Dr. Dan Schonfeld based on the contents of his expert report. Sonos argues that the following

                                  16    should be excluded: (1) any opinion involving invalidity of the ’966 patent, on account of

                                  17    improper cross-referencing of opinion involving invalidity of the ’885 patent; (2) any opinion

                                  18    that the asserted claims of the ’885 and ’966 patents are invalid as obvious over Bose prior art;

                                  19    and (3) any opinion that “No Standalone Mode” was a purported non-infringing alternative

                                  20    before the jury. This motion is DENIED. Specifically, it is DENIED AS MOOT with respect to

                                  21    opinion concerning the purported non-infringing alternative, which will now be tried before the

                                  22    jury, as discussed at a prior hearing. Otherwise, the motion is DENIED WITHOUT PREJUDICE.

                                  23         As stated on the record, with respect to cross-referencing opinion involving invalidity,

                                  24    Sonos will be allowed to make question-by-question objections on this issue at trial, and

                                  25    Google will be allowed to point to where in its report it cross-references and what it cross-

                                  26    references to. Google has brought this upon itself by having a convoluted expert report. But

                                  27    striking all expert opinion on the invalidity of the ’966 patent would be too much. Note it

                                  28    would allow Sonos to seek a summary judgment ruling of no invalidity by way of a motion in
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                                   1    limine, which our court of appeals cautions against. Hana Fin., Inc. v. Hana Bank, 735 F.3d

                                   2    1158, 1162 & n.4 (9th Cir. 2013)). What’s more, a prior order expressly requested that Sonos

                                   3    state its views on how to proceed with the pending round of summary judgment motions once

                                   4    an order granted Google’s motion for reconsideration and withdrew the entry of summary

                                   5    judgment in favor of Sonos on validity of the ’885 patent. Sonos requested a supplemental

                                   6    expert report. It did not request to move for summary judgment of no invalidity with respect to

                                   7    either patent then, and it cannot do so now on the eve of trial.

                                   8         With respect to the Bose prior art, there appear to be underlying questions of fact that

                                   9    require jury resolution, such as which Bose components the Bose Lifestyle 50 System

                                  10    encompasses. Moreover, there is no harm in allowing Google to put this evidence on with the

                                  11    understanding that it may be struck from the record under Rule 50, if appropriate, upon a

                                  12    renewed motion to exclude this evidence once it has been presented.
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                                  13         6.      PLAINTIFF’S MOTION IN LIMINE NO. 3.
                                  14         Sonos’s third motion in limine relates to invalidity based on lack of written description or

                                  15    enablement of the ’885 and ’966 patents. Specifically, Sonos moved to exclude invalidity

                                  16    arguments and evidence based on a lack of written description or enablement, as well as “any

                                  17    argument that if the ’885 and ’966 patents are enabled, the prior art must be as well” (Dkt. No.

                                  18    596 at 3). In its opposition, Google only took issue with the latter portion of this statement,

                                  19    which allegedly mischaracterized its arguments. In any event, at the final pretrial conference,

                                  20    the parties agreed that they should come to an agreement that would render this entire motion

                                  21    moot.

                                  22         As stated on the record, the parties shall meet and confer on this point, put their

                                  23    agreement in writing, and file it. The motion is DENIED AS MOOT, without prejudice to

                                  24    renewing this motion if the parties fail to come to an agreement after all.

                                  25         7.      PLAINTIFF’S MOTION IN LIMINE NO. 4.
                                  26         Sonos’s fourth motion in limine would preclude Google from referencing unasserted or

                                  27    no longer asserted patents.

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                                   1         As stated on the record, this motion is DENIED. To the extent that Sonos plans to

                                   2    mention unasserted patents to support its theory of willful infringement, Google should have

                                   3    the right to mention what became of those unasserted patents. Google may also tell the jury

                                   4    that it respects patents and has its own patent portfolio, as counsel suggested it would, but

                                   5    going into greater depth in terms of quantity or quality of patent puts Google at risk of

                                   6    evidentiary objections that are likely to be sustained.

                                   7         8.      PLAINTIFF’S MOTION IN LIMINE NO. 5.
                                   8         Sonos’s fifth and final motion in limine would exclude argument, evidence, or references

                                   9    that Sonos acted improperly in pursuing the asserted patents. According to Google’s

                                  10    opposition, not only was this motion overbroad, but it was also based on three arguments that

                                  11    Google does not intend to raise.

                                  12         This motion is DENIED AS MOOT, with the understanding that Google will not raise the
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                                  13    arguments Sonos discussed in its motion. This is without prejudice to Sonos objecting to other

                                  14    arguments at trial related to Sonos acting improperly.

                                  15                  RULINGS ON DISPUTES FROM JOINT PROPOSED FINAL

                                  16                                       PRETRIAL STATEMENT

                                  17         1.      DERIVATION DEFENSE.
                                  18         In the joint proposed final pretrial statement, the parties disputed whether Google had a

                                  19    properly disclosed derivation defense (Dkt. No. 615 at 2, 5). An order requested supplemental

                                  20    briefing on this issue (Dkt. No. 626). In Google’s supplemental brief, it stated that it was

                                  21    “willing to drop its derivation defense in an effort to narrow the scope of issues for trial” (Dkt.

                                  22    No. 650 at 2). The undersigned will hold Google to it. With the understanding that the

                                  23    derivation defense is no longer in the case, this dispute is moot.

                                  24         2.      ACCUSED PRODUCTS FOR ’966 PATENT.
                                  25         In the joint proposed final pretrial statement, Sonos suggested that the jury will be asked

                                  26    to determine whether computing devices with (1) the Google Home app, (2) the YouTube

                                  27    Music app, or (3) the Google Play Music app infringe. Google countered that computing

                                  28    devices running the YouTube Music app and the Google Play Music app were not properly
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                                   1    disclosed as accused products. This order agrees. The undersigned “denied a motion” at the

                                   2    hearing with respect to this dispute, but since there was no motion and the undersigned has

                                   3    adjusted his position somewhat, a brief explanation is provided below.

                                   4         At the final pretrial conference, Google projected slides with language allegedly from the

                                   5    cover pleading for the ’966 patent infringement contentions to support its argument that

                                   6    computing devices running the YouTube Music app and the Google Play Music app were not

                                   7    properly disclosed as accused products. Because the parties did not argue this as a motion with

                                   8    exhibits — but instead as a couple sentences in the joint proposed final pretrial statement with

                                   9    no cites — the undersigned was unable to review this document in advance of the hearing.

                                  10    And counsel never provided or lodged the slides with the relevant language, nor did counsel

                                  11    provide a cite to allow for finding this needle in the haystack of our voluminous record.

                                  12         But the undersigned did review another document that supports Google’s argument:
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                                  13    Sonos’s most recently amended infringement claim chart for the ’966 patent, served on

                                  14    December 16, 2022 (Dkt. No. 430-2; 431-7). Sonos argued at the hearing that this very

                                  15    document supports its theory that computing devices with the Google Home app, the YouTube

                                  16    Music app, or the Google Play Music app installed infringe. That is flatly contradicted by the

                                  17    claim chart language, however, which provides that the accused products or “cast-enabled

                                  18    computing devices” run the “Google Home app, either alone or together with one or more of

                                  19    these other Cast-enabled apps,” such as the YouTube Music app or the Google Play Music app

                                  20    (Dkt. No. 431-7 at 1) (emphasis added). In other words, the document that Sonos claims

                                  21    supports its arguments fails to do so.

                                  22         In sum, the accused products are those computing devices with the Google Home app

                                  23    installed, irrespective of whether they happen to have the YouTube Music app or the Google

                                  24    Play Music app installed. Computing devices without the Google Home app and with the

                                  25    YouTube Music app and/or the Google Play Music app installed are not accused products.

                                  26         3.      DR. SCHONFELD’S TESTIMONY RE. SUPPLEMENTAL REPORT.
                                  27         According to Sonos, Dr. Schonfeld should not be allowed to testify to new opinions

                                  28    disclosed in his supplemental reply report first served on April 14. According to Google, this
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                                   1    report was required so that Dr. Schonfeld could respond to new opinions that Dr. Almeroth

                                   2    was permitted to serve on March 21; Dr. Almeroth was allowed to file a supplemental report

                                   3    on the validity of the ’885 patent after an order on reconsideration withdrew summary

                                   4    judgment entered in Sonos’s favor on that issue.

                                   5         As stated on the record, by TOMORROW, MAY 5, at 12 P.M., Sonos shall file a copy of

                                   6    Dr. Schonfeld’s supplemental reply report with portions that it alleges are new opinions

                                   7    highlighted. By SATURDAY, MAY 6, at 12 P.M., Google may file a response. The undersigned

                                   8    will then evaluate whether any material in Dr. Schonfeld’s report should be struck.

                                   9         4.      OPENING AND CLOSING STATEMENTS.
                                  10         Each side will have 35 minutes for its opening statement. The time allotted for closing

                                  11    statements will be decided at a later date.

                                  12         5.      TIM KOWALSKI AS WITNESS.
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                                  13         Sonos served an objection to Google’s inclusion of its employee Tim Kowalski on its

                                  14    amended witness list because Kowalski was not included in Google’s initial witness list and

                                  15    has not been deposed in this case. Google stated at the hearing that Mr. Kowalski was listed on

                                  16    its “may call” list, and that he is knowledgeable about a comparable patent license that may be

                                  17    relevant for assessing damages. As stated on the record, Sonos may have a one-day deposition

                                  18    of Mr. Kowalski before TUESDAY, MAY 9, at 12:00 P.M. If Google does not produce Mr.

                                  19    Kowalski, he will be barred from testifying.

                                  20                OTHER RULINGS FROM FINAL PRETRIAL CONFERENCE

                                  21         1.      AFFIRMATIVE DEFENSES.
                                  22         Note each side shall have 14 hours to present all of the issues to be tried in this case. No

                                  23    additional time will be allotted to affirmative defenses.

                                  24         2.      STIPULATED MOTIONS IN LIMINE.
                                  25         This order GRANTS the stipulated motions in limine included in the joint proposed final

                                  26    pretrial statement (Dkt. No. 615 at 13–14).

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                                   1         3.      STIPULATIONS RE. TIMELY EXCHANGES.
                                   2         In their joint proposed final pretrial statement, the parties stipulated to a scheme for

                                   3    revealing witnesses, exhibits, and demonstratives, with times set for exchanging lists and

                                   4    oppositions, meeting and conferring, and then filing briefs covering lingering disputes. As

                                   5    stated on the record, the parties’ proposal of filing briefs with lingering disputes by 11:30 P.M.

                                   6    each night before our 7:30 A.M. start time is cutting it too close. The parties shall file their

                                   7    briefs with lingering disputes NO LATER THAN 7:30 P.M. each night of trial. Until the parties

                                   8    file revised stipulations regarding timely exchanges to accommodate this deadline, the

                                   9    deadlines in the undersigned’s Standing Order for Civil Jury Trials shall govern.

                                  10         In addition, the parties shall file any objections regarding opening statement

                                  11    demonstratives by 5:00 P.M. in lieu of 9:00 P.M., on SUNDAY, MAY 7, the day before trial

                                  12    begins. They shall file revised stipulations regarding this particular exchange to accommodate
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                                  13    this deadline.

                                  14         IT IS SO ORDERED.

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                                  16    Dated: May 4, 2023.

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                                                                                                 WILLIAM ALSUP
                                  19                                                             UNITED STATES DISTRICT JUDGE
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